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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

In re:                                                Chapter 11

QUIKSILVER, INC., et al.,                             Case No. 15-11880 (BLS)

                           Debtors.                   Jointly Administered

                             WITHDRAWAL OF APPEARANCE

         PLEASE WITHDRAW the appearances of the counsel listed below for Hilco Merchant
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Dated: February 16, 2016                        GREENBERG TRAURIG, LLP


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